        Case 1:03-cv-00600-LAS Document 230 Filed 07/27/22 Page 1 of 10




               IN THE UNITED STATES COURT OF FEDERAL CLAIMS



CHEYENNE RIVER SIOUX TRIBE, et al.              )
                                                )
                       Plaintiffs,
                                                )
                                                )                    No. 03-600 L
vs.                                             )
                                                )                 Judge Loren Smith
                                                )
THE UNITED STATES OF AMERICA,                   )
                                                )
                       Defendant.               )
                                                )
___________________________________             )


                           ____________________________________

             PLAINTIFFS’ SECOND AMENDED LIST OF TRIAL EXHIBITS
                      ____________________________________


       COME NOW Plaintiffs, by and through their attorneys Marty J. Jackley and Stacy R.

Hegge of Gunderson, Palmer, Nelson, & Ashmore, LLP, and herein file their Second Amended

List of Trial Exhibits, with the amendments to include the addition of the following exhibits, as

underlined herein: Exhibit 59c, 70e, and 75a. Plaintiffs reserve the right to supplement this list

and to utilize any exhibit delineated by the Defendant and any exhibit made necessary for

rebuttal purposes.

1.     Aggradation and Degradation Aspects of the Missouri River Main Stem Dams,
       Alfred S. Harrison and Warren J. Mellema, May 1984.

2.     Sedimentation in the Cheyenne River Arm – Lake Oahe, 1958-1991, January 1993.

3.     1993 Lake Oahe Aggradation Study.

4.     Lake Oahe Aggradation Study, 1958-2012.

5.     Map of the Moreau River from U.S. Army Corps of Engineers dated August 17,
       2004.
      Case 1:03-cv-00600-LAS Document 230 Filed 07/27/22 Page 2 of 10




6.    Moreau River – Oahe Project – South Dakota Sedimentation Analysis, August 2003.

7.    Real Estate Memorandum MO 76, September 15, 1956.

8.    Real Estate Memorandum MO 133 and Indorsements.

9.    1948, 1997, 2004, 2005, and 2006 aerial photographs.

10.   Curriculum Vitae of Vernon Schaefer.

11.   2007 Report of Vernon Schaefer.

12.   Schaefer Field Notes.

13.   Schaefer Site Investigation Photographs.

14.   Curriculum Vitae of Robert Nielsen.

15.   Nielsen Site Investigation Report from site visit on August 9, 2004.

16.   Nielsen Site Investigation Report from site visit on August 12, 2004.

17.   Nielsen Site Investigation Report from site visit on August 30, 2004.

18.   Nielsen Site Investigation Photographs.

19.   Nielsen Field Notes.

20.   Boring Logs.

21.   Maps of Boring Locations.

22.   Plots of Pits on 2004 Photo Base.

23.   Plots of Pits on 1948 Photo Base.

24.   NRCS Soil Mapping Units Overlay 1948 Photo Base and depicting pit locations.

25.   Bark Samples.

26.   NRCS Soil Survey Map.

27.   Maps compiled by the U.S. Army Corps of Engineers created from 1945 aerial
      photographs.

28.   Curriculum Vitae of W. Carter Johnson.



                                             2
      Case 1:03-cv-00600-LAS Document 230 Filed 07/27/22 Page 3 of 10




29.   December 2004 Report of W. Carter Johnson.

30.   January 15, 2007, Report of W. Carter Johnson.

31.   Johnson Field Notes.

32.   Table 3, depicting data for USGS 06360500.

33.   1973 Structure Inventory & Appraisal Sheet.

34.   Supplementary Bridge Inspection Report and Structure Inventory & Appraisal
      Sheet.

35.   1977 Structure Inventory & Appraisal Sheet.

36.   March 22-26, 1997, photographs taken by Dave Nelson.

37.   March 1997, CRST Game, Fish & Parks Video.

38.   March 23, 1997, Ducheneaux Video.

39.   USACE End of Month Reservoir Elevation chart and data for Oahe Reservoir.

40.   Hydraulics Section Aggradation Study – Moreau River, South Dakota, October 16,
      2003.

41.   Deposition of Jeff McClenathan.

42.   Deposition of John Remus.

43.   Kriged Depth to Buried Soil Horizon graphic.

44.   USGS Topographic Maps.

45.   January 15, 2007, Report of Robert Nielsen.

46.   May 3, 2004, FEMA Studies.

47.   October 25, 1956, Correspondence contained in Real Estate Memorandum MO-130,
      entitled Portions of Segment Q, etc.

48.   Correspondence to Chief of Engineers, Department of Army, August 13, 1954.

49.   Correspondence dated 13 August 1954, Subject: Guide Control and Proposed
      Taking Lines.




                                           3
      Case 1:03-cv-00600-LAS Document 230 Filed 07/27/22 Page 4 of 10




50.   Correspondence dated November 2, 1960.

51.   Curriculum Vitae of Todd R. Mortenson.

52.   Report of Todd R. Mortenson.

53.   Curriculum Vitae of John Widdoss.

54.   John Widdoss General Materials.

55.   Appraisal 1: Gilbert Ranch

         a. Summary Map

56.   Appraisal 2: Mowrer Ranch

         a. October 28, 2002, Mowrer Statement.

         b. Summary Map

         c. 1997 Photographs

         d. February 2009 Photographs

         e. 2009 Other Photographs

         f. March 2014 Photographs

         g. 2014 Other Photographs

         h. March 2019 Photographs

         i. 2011 Photographs

         j. Other photographs

57.   Appraisal 3: Carrie Fast Horse/Neil Chasing Hawk Residence

         a. Summary Map

58.   Appraisal 4: Marshall Ranch

         a. October 28, 2002, Marshall Statement.

         b. Summary Map




                                           4
      Case 1:03-cv-00600-LAS Document 230 Filed 07/27/22 Page 5 of 10




59.   Appraisal 5: Gloria and Sharon Smith Property

         a. October 28, 2002, Sharon/Gloria Smith Statement.

         b. Summary Map

         c. Sharon Smith Photographs

60.   Appraisal 6: Kim Traversie Residence

         a. Summary Map

61.   Appraisal 7: Larry Fiddler Residence

         a. Summary Map

62.   Appraisal 8: Tom Smith Residence

         a. Summary Map

63.   Appraisal 9: Farrell/Rebekah Smith Residence

         a. Summary Map

64.   Appraisal 10: Smith Ranch

         a. October 29, 2002, Smith Statement.

         b. Summary Map

         c. Photos

65.   Appraisal 11: Francis Traversie Ranch

         a. October 29, 2002, Traversie Statement.

         b. Summary Map

66.   Appraisal 12: Harry Landreaux Residence

         a. Summary Map

67.   Appraisal 13: Jewett Tract

         a. Summary Map




                                             5
      Case 1:03-cv-00600-LAS Document 230 Filed 07/27/22 Page 6 of 10




68.   Appraisal 14: Albert Jewett Ranch

         a. Summary Map

69.   Appraisal 15: Lawrence Ranch

         a. October 29, 2002, Lawrence Statement.

         b. Summary Map

         c. Photographs

70.   Appraisal 16: Anderson Ranch

         a. October 29, 2002, Anderson Statement.

         b. Summary Map

         c. Range Unit Maps

         d. 1997 Photographs

         e. Deeds (Anderson Ranch)

71.   October 30, 2002, Marty/Monica Lawrence Statement.

72.   2002/2003 BIA Title Status Reports

73.   2003 Title Commitments, 2004 Owner Status Reports, and related documents

74.   US Dept. of Interior – Bureau of Indian Affairs Title Status Reports (February
      2020)

75.   Grazing Permits, Pasture Authorization, and related documents

         a. Grazing Permits Part 2

76.   Cheyenne River Housing Authority documents

77.   US Dept. of Interior – Bureau of Indian Affairs Title Status Reports (July 2022)

78.   Summary- Land Ownership Exhibit

79.   Large Scale Range Unit Map

80.   Moreau River Project Boundary - 59.2 Map



                                            6
      Case 1:03-cv-00600-LAS Document 230 Filed 07/27/22 Page 7 of 10




81.   Governor Noem Video

82.   Brosz Engineering maps

83.   June 7, 2008 Flood Photographs

84.   June 9, 2008 Flood Photographs

85.   June 14, 2022 Photographs

86.   Chairman Harold Frazier Statement

87.   Curriculum Vitae of Brian Reimer

88.   Equitable Advisors Portfolio Interest Calculation based upon Formula One Total

         a. Gilbert Ranch (Appraisal 1): Formula One Interest Calculation

         b. Mowrer Ranch (Appraisal 2): Formula One Interest Calculation

         c. Carrie Fast Horse/ Neil Chasing Hawk Residence (Appraisal 3): Formula One
            Interest Calculation

         d. Marshall Ranch (Appraisal 4): Formula One Interest Calculation

         e. Gloria and Sharon Smith Property (Appraisal 5): Formula One Interest
            Calculation

         f. Kim Traversie Residence (Appraisal 6): Formula One Interest Calculation

         g. Larry Fiddler (Appraisal 7): Formula One Interest Calculation

         h. Tom Smith Residence (Appraisal 8): Formula One Interest Calculation

         i. Farrell/Rebekah Smith Residence (Appraisal 9): Formula One Interest
            Calculation

         j. Smith Ranch (Appraisal 10): Formula One Interest Calculation

         k. Francis Traversie Ranch (Appraisal 11): Formula One Interest Calculation

         l. Harry Landreaux Residence (Appraisal 12): Formula One Interest Calculation

         m. Jewett Tract (Appraisal 13): Formula One Interest Calculation

         n. Albert Jewett Ranch (Appraisal 14): Formula One Interest Calculation



                                            7
      Case 1:03-cv-00600-LAS Document 230 Filed 07/27/22 Page 8 of 10




         o. Lawrence Ranch (Appraisal 15): Formula One Interest Calculation

         p. Anderson Ranch (Appraisal 16): Formula One Interest Calculation

89.   Equitable Advisors Portfolio Interest Calculation based upon Formula Two Total

         a. Gilbert Ranch (Appraisal 1): Formula Two Interest Calculation

         b. Mowrer Ranch (Appraisal 2): Formula Two Interest Calculation

         c. Carrie Fast Horse/ Neil Chasing Hawk Residence (Appraisal 3): Formula Two
            Interest Calculation

         d. Marshall Ranch (Appraisal 4): Formula Two Interest Calculation

         e. Gloria and Sharon Smith Property (Appraisal 5): Formula Two Interest
            Calculation

         f. Kim Traversie Residence (Appraisal 6): Formula Two Interest Calculation

         g. Larry Fiddler (Appraisal 7): Formula Two Interest Calculation

         h. Tom Smith Residence (Appraisal 8): Formula Two Interest Calculation

         i. Farrell/Rebekah Smith Residence (Appraisal 9): Formula Two Interest
            Calculation

         j. Smith Ranch (Appraisal 10): Formula Two Interest Calculation

         k. Francis Traversie Ranch (Appraisal 11): Formula Two Interest Calculation

         l. Harry Landreaux Residence (Appraisal 12): Formula Two Interest Calculation

         m. Jewett Tract (Appraisal 13): Formula Two Interest Calculation

         n. Albert Jewett Ranch (Appraisal 14): Formula Two Interest Calculation

         o. Lawrence Ranch (Appraisal 15): Formula Two Interest Calculation

         p. Anderson Ranch (Appraisal 16): Formula Two Interest Calculation

90.   Summary- Damages Exhibit

91.   Deposition of Charlotte Lawrence

92.   Deposition of Bob Smith



                                            8
      Case 1:03-cv-00600-LAS Document 230 Filed 07/27/22 Page 9 of 10




93.   Deposition of Vivian Smith

94.   Deposition of Edwina Hollenbeck (Mowrer)

95.   Deposition of Richard Anderson

96.   Deposition of Wayne Ducheneaux

97.   Dewey County Land Owner Maps



      Dated: July 27, 2022.

                                            GUNDERSON, PALMER, NELSON
                                              & ASHMORE, LLP

                                            By: /s/ Marty J. Jackley
                                               Marty J. Jackley
                                               Stacy R. Hegge
                                               Attorneys for Plaintiffs
                                               111 West Capitol Ave., Suite 230
                                               Pierre, South Dakota 57501
                                               Telephone: (605) 494-0105
                                               E-mail: mjackley@gpna.com




                                        9
       Case 1:03-cv-00600-LAS Document 230 Filed 07/27/22 Page 10 of 10




                              CERTIFICATE OF SERVICE


       I certify that a true and correct copy of the PLAINTIFFS’ SECOND AMENDED LIST

OF TRIAL EXHIBITS was served, via the Court’s electronic mail system, this 27th day of July

2022, to the following:

       Ashley M. Carter
       Trial Attorney
       United States Department of Justice
       Environment & Natural Resources Division
       Natural Resources Section
       150 M St., N.E.
       Washington, D.C. 20002
       Phone: (202) 532-5492
       Email: ashley.carter@usdoj.gov
       Counsel for the United States


                                                  By: /s/ Marty J. Jackley
                                                      Marty J. Jackley




                                            10
